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NVB 5075 (Rev. 2/23)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                          BK−23−10744−abl
                                                                 CHAPTER 13
 TAMARA L WILLIAMS
    aka TAMARA LYNETTE WILLIAMS

                                                                 NOTICE OF DOCKETING
                                    Debtor(s)                    ERROR




NOTICE IS ORDERED that the following docket entry requires correction:

           Docket Number/Entry:                 21 − Motion for Relief from Stay Property: 10361 Trailing Dalea,
                                                Las Vegas, NV 89135 Fee Amount $188. Filed by AMBERLEA
                                                DAVIS on behalf of MATAN PAZ (DAVIS, AMBERLEA)
           Filed On:                            4/13/23
           With A Hearing Date Of:              5/17/23
           And A Hearing Time Of:               1:30 P.M.

The reason(s) for the required correction(s) is as follows:

   *      PDF has an incorrect case caption. Please refer to the Local Rules and file an amended pleading or file it
          in the correct case immediately. The following caption item(s) are incorrect/missing:
          *     Bankruptcy Debtor(s)




Dated: 4/14/23


                                                              Mary A. Schott
                                                              Clerk of Court



           For additional information, please visit the court's web site at https://www.nvb.uscourts.gov
